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UNITED STATES DISTRICT COURT 3
WESTERN DISTRICT OF TENNESSEE 05 l 1 ‘ () i:- _
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) (J !N; fiij prIS
LECTROLARM CUSTOM SYSTEMS, INC.)
)
Plaintiff, )
) Civil Action No. 03-2330 Ma A
v. )
)
VICON INDUSTRIES, INC., et al. )
)
Defendants. )

 

 

[PIM] ORDER GRANTING DEFENDAN'I` GE INTERLOGIX, INC. ’S
UNOPPOSED MOTION FOR PERMISSION TO FILE A REPLY 'I`O ITS MOTION TO
COMPEL THE DEPOSITION OF WILLIAM V. SMITH OR, IN THE ALTERNATIVE,

TO COMPEL THE PRODUCTION OF A DETAILED DESCRIPTION OF MR.
SMITH’S MEDICAL CONDITION

 

Before the Court is Defendant GE Interlogix, lnc.’s unopposed motion for permission to
file an abbreviated Rep|y to Lectrolann’s opposition to GE’s Motion to Compel the Deposition
Testirnony of William V. Smith or, in the Alternative, to Compel the Production of a Detaifed
Description of Mr. Smith’s Medical Condition. F or good cause shoWn, the motion is
GRANTED.

l`T IS SO ORDERED.

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JUDGE 594 _yj:m »'

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This notice confirms a copy of the document docketed as number 380 in
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Honorable Samuel Mays
US DISTRICT COURT

